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                  EXHIBIT 1
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l3
     Attorneys for Plaintiff,
t4   SIX4'|HREE, LLC, a Delaware
     limited liability company
l5
t6                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

t7                                            COUNTY OF SAN MATEO

l8
t9   SIX4THREE, LLC, a Delaware limited                      Case No. CIV533328
     liability company,
20                                                           PT,AINTIF'F' SIX4THREE LI.,C'S THIRD
                                 Plaintiff,                  SUPPLEMENTAL RESPONSE TO
2t                                                           DEFENDANT FACEBOOK, INC.'S
                 V                                           SPECIALLY PREPARED
22                                                           INTERROGATORIES
     FACEBOOK, INC., a l)elaware
23   corporation and DOES l-50, inclusive,

24                               Defendant.

25

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     CASC NO,   533328 643 TI-IIRD SUPPLEMENTAL RESPONSTJ TO FACEBOOK'S SPECIAt, INTERROGATORIES
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 I   Developers. On January 5,2014, Facebook sent yet anotherooPlatform Status" update regarding a

 2   change to the Insights feature of Facebook Platform. See Exhibit E.

 J             In sum, Facebook sent dozens and dozens of emails to 643 from April 30,2014 through

 4   January 20,2015. Not one of these emails ever provided notice to 643 of the changes to Graph

 5   API thqf would shut down 643's App. Infact, these emails provided notices o/'many other

 6   changes and also encouraged 643 to /ìnd more users for its App and to make money on engaging

 7   those users after the point in time Facebook claims it provided notice to 643 that the App would

 8   no longer function. This is particularly curious given that many of the emails describe many other

 9   changes to Graph API and Facebook Platform but never describe the massive change of closing

l0   completely all the content Facebook had promised for many years. Facebook had multiple

1l   avenues to communicate this major change, including its Weekly Developer Blog and its regular

t2   Platform Status updates. Facebook provided 643 with notice of many different changes through

l3   these avenues and yet not until January 20,2015 did Facebook send notice to 643 of the major

t4   change that would cause 643's App to shut down. Finally, during this period between which

l5   Facebook told a small group of Developers at a conference about this change and notified 643 of

16   the change (April 30,2014 to January 20,2015), Facebook sent numerous emails fo 643 helping

17   643 gain more users for its App, engage those users better in the App, and monetize the

l8   engagement of those users for 643 to make money with the App.

l9   SPECIAL INTERROGATORY NO. 9:

20             STATETHE COMPLETE FACTUAL BASIS that you contend suppor{s YOUR claim

2l   for violation of Business and Professions Code $ 17200 et seq'

22   RESPONSE            SPECIAL INTERROGA TORY NO. 9:

23             Responding Party incorporates each of the General Objections and further objects to this

24   demand to the extent that it: (1) is vague and ambiguous; (2) is overly broad and unduly

25   burdensome in seeking "THE COMPLETE FACTUAL BASIS"; (3) calls for information

26   coveled by the attorney-client privilcgc and work product privileges; (4) calls for confidential

27   information in the absence of the entry of a suitable protective order; (5) seeks documents that are

28   not relevant to the subject matter of this litigation and not reasonably calculated to lead to the
                                                      -18-
     Case No. 533328            643 THIRD SUPPLEMENTAL RESPONSE'I'O FACEBOOK'S SPECIAL INTERROGATORIES
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 I   discovery of admissible evidence; (6) seeks information equally available to Defendant; (7) seeks

 2   the content of electronic communications that 643 is prohibited from producing under the SCA'

 J   643 will supplement its response to this interrogatory upon the entry of a protective order,

 4   SUPPLEMENTAL RESPONSE TO SPECIAL INTEBROGATQRY NO. 9:

 5             Responding Party incorporates each of the General Objections and further objects to this

 6   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

 7   burdensome; (3) calls for information covered by the attorney-client privilege and work product

 8   privileges; (4) seeks documents that are not relevant to the subject matter of this litigation and not

 9   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

l0   equally available to Defendant; (6) seeks the content of electronic communications that 643 is

ll   prohibited from producing under the SCA.

l2             Subject to and without waiving the foregoing objections, 643 responds that Facebook's

l3   representations and conduct were designed to, and did, entice 643 and other Developers to create

t4   applications for Facebook with promises of, among other things, a level playing field, fair

l5   competition, and a chance to build a business. Facebook decided to open certain endpoints, and

t6   not others, precisely to induce l)evelopers to build certain types of applications, including

t7   advanced photo-searching applications. Facebook promised Developers that their own advanced

l8   photo-searching applications would be treated on a level playing freld with any photo-searching

t9   applications Facebook decided to launch in the future. Iìacebook also promised l)evelopers it was

20   committed over the long term to enable Developers to build businesses using advanced photo-

2t   searching applications.

22             Facebook caused substantial harm to 643 and other Developers when it then decided to

23   terminate Developers' ability to build advanced photo-searching applications, while retaining its

24   own ability to create these kinds of applications, because 643,like other Developers, had invested

25   considerable time and resources in developing this kind of application for Facebook'

26             This type of conduct and the harm it causcd 643 is by no me&ns isolated. It is reflective of

27   apatlernof behavior on Facebook's part over many years in which it induces investment around

28   certain applications with promises of serving as a neutral platform provider, and then once certain
                                                     -t9-
     Case No. 533328             643 THIRD SUPPT,EMENTAL IìT]SPONSE TO ITACEBOOK'S SPECIAL INTERROGATORIES
        Case 3:17-cv-00359-WHA Document 20-2 Filed 02/06/17 Page 5 of 14



 I   applications become big enough markets, it shuts off that platform and monopolizes the market

 )   for itself. Indeed, the inherent conflict of interest and anti-competitive behavior associatecl with

 J   multi-billion dollar app economies like Facebook Platform has become the locus of increasing

 4   antitrust scrutiny.

 5             Just as recently as October 19,2016, U.S. Representative Henry Johnson, the Ranking

 6   Member of the Antitrust Subcommittee of the House Judiciary Committee, called on the Federal

 7   Trade Commission (FTC) to investigate concerns around anti-competitive activity in app

 8   marketplaces. Representative Johnson's letter to the FTC reads in part:

 9
                       It is our understanding that some independent and small technology
l0                     developers have raised ooncerns with the Federal Trade Commission that
ll                     the increasing difficulty that app developers have in reaching and
                       communicating with customers in some app ecosystems may undermine
                                                                                  'We
l2                     competition in digital services and products distribution.     are concerned
                       that these practices will stifle innovation and decrease channels for
l3                     distributing the products of application and service developers, resulting in
                       fewer and less cost-effective choices for consumers. As Members of the
t4                     United States House of Representatives serving on the Committee on the
l5                     Judiciary, we are committed to ensuring a competitive marketplace for all
                       companies online, including new entrants and small competitors.
t6                     Accordingly, we ask that the Commission carefully consider these
                       concerns, (See Exhibit D.)
17
     643 contends that the type of repeated "bait and switch" behavior Facebook has engaged in over
l8
     many years and in many contexts is precisely the type of activity that California's Unfair
t9
     Competition Act is intended to regulate. To accept that Facebook can make repeated promises of
20
     neutrality and then decide to violate those promises when they run counter to Facebook's
2l
     business interests is to permit anti-competitive activity that places smaller companies at a
22
     dramatic disadvantage in the app economy. 643 reserves the right to supplement its response to
23
     this Special Interrogatory as new information is discovered.
24
     SECOND SUPPLEMENTAL RESPONSE TO SPECIAL INTERROGATORY NO. 9;
25
               Responding Party incorporates each of the General Objections and further objects to this
26
     demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly
27
     burdensome; (3) calls for information covered by the attorney-client privilege and work product
28
                                                          -20-
     Case No, 533328              643 TI,IIRD SUPPT,EMENTAL RESPONSTJ'TO }'ACEBOOK'S SPECIAL INTERIìOGATORIES
        Case 3:17-cv-00359-WHA Document 20-2 Filed 02/06/17 Page 6 of 14



 I   privileges; (4) seeks documents that arc not relevant to the subject matter of this litigation and not

 2   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

 J   equally available to Defendant; (6) seeks the content of electronic communications that 643 is

 4   prohibited from producing under the SCA,

 5             Subject to and without waiving the foregoing objections, 643 responds that Facebook

 6   claims it provided one year notice to 643 of the closing of Graph API that shut clown 643's App.

 7   However, Facebook did not in fact provide such notice fo 643 until January 20,2015, Facebook

 I   claims that because it told select Developers that attended a conference on April 30, 2014 and

 9   wïote a blog post on its website that included one line buried at the bottom of the blog post

l0   mentioning that Facebook was removing some "rarely used" endpoints, and which never

1l   specified the content actually being removed, that this somehow constitutes notice to 643 that the

t2   App would no longer function on April 30,2015. However, Representatives of 643 did not attend

t3   the F8 Annual Conference in which this was announced, did not watch the conf'erence online, and

t4   did not proactively search the Facebook blog on a daily basis to uncover this announcement on

l5   that date,

16             Facebook did not notify 643 of the shutting down of Graph API and the cleprecating of the

l7   FRIENDS' PHOTOS ENDPOINT until January 20,2015 (FB_0000005), Between April 30,

l8   2014 and January 20,2015, 643 received numerous emails from Facebook, none of which ever

t9   mentioned that 643's App would be shut down on April 30,2015. In fact, many of the emails sent

20   by Facebook provided updates on Facebook Platform to ensure that 643 could continue to use

21   Facebook Platform for its App. Many other emails provided assistance to 643 on how to increase

22   the users in its App, See Exhibit E.

23             For instance, on April 30,2014,the date Facebook announced that it was shutting down

24   Graph API to a select group of Developers at a conference, Facebook sent 643 an email entitled

25   "lnsights on Pikinis," showing analytics on the likes, reach and user engagement of Pikinis on

26   Facebook, with the goal of helping Pikinis increase its adoption on Facebook Platform. On Junc

27   76,2014, Facebook sent an email to 643 with an update on Facebook Platform around

28   "Upcoming Changes to App Ads," showing how Pikinis could use advertisements to monetize the
                                                        -21-
     Case No. 533328            643 TFIIRD SUPPLEMENTAT. RESPONSË TO FACEBOOK'S SPECIAL INTEIIIìOGATORIES
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 I   App on Facebook Platform. On July 15,2014, Facebook sent 643 an email "Build an Audience,"

 2   providing suggestions on how to increase the App's users by leveraging Facebook Platform, On
                                                         ooMeasure
 J   August 26,2014, Facebook sent 643 an email                      App Events," providing suggestions on

 4   how to measure engagement in the App to gain greater insight into user behavior. On September

 5   l,2Ol4,Facebook sent 643 an email"Mobile App Custom Audiences," providing suggestions on

 6   how to segment App users to target those segments more effectively. On September 7,2014,
                                      ooReach
 7   Facebook sent 643 an email                 Your High Value fJsers," providing suggestions on how to

 8   get more App users for Facebook Platform. On October 28,2074, Facebook sent three different

 9   "Platform Status" updates providing information to l)evelopers around some bugs that Facebook

l0   was working on that temporarily affected Developers' ability to use Facebook Platfonn. On

11   November 4,2014, F'acebook sent another "Platform Status" update to 643 describing a change to

t2   Platform related to Messaging APIs. On December 8, 2014, Facebook sent an email to 643,

l3   'oDeveloper Blog Weekly Digest," which is one of many weekly emails Facebook sent to 643

14   describing updates to Facebook Platform and Graph APL On December 14,2014, Facebook sent
                ooPlatform
l5   another                 Status" update to 643 describing a change to Graph API that affected
                                                                        o'Platform Status" update regarding a
t6   Developers. On January 5,2014, Facebook sent yet another

t7   change to the Insights feature of Facebook Platform. See Exhibit E.

l8             In sum, Facebook sent dozens and dozens of emails to 643 from April 30,2014 through

19   January 20,2015. Not one of these emails ever provided notice to 643 of the changes to Graph

20   API that would shut down 643's App. Infact, these emails provided notices of many other

2l   changes and also encouraged 643 to find more users for its App and to make money on engaging

22   those users after the point in time Facebook claims it provided notice to 643 that the App would

23   no longer function. This is particularly curious given that many of the emails describe many other

24   changes to Graph API and Facebook Platform but never describe the massive change of closing

25   completely all the content Facebook had promised for many years, Facebook had multiple

26   avenues to cornrnunicate this major change, including its Weckly Dcvcloper Blog and its regular

27   Platform Status updates. Facebook provided 643 with notice of many different changes through

28   these avenues and yet not until January 20,2015 did Facebook send notice to 643 of the major
                                                           aa

     Case No. 533328               643 THIRD SUPPI.EMENTAI. RESPONSE TO FACEI]OOK'S SPECIAL INTERROGATORIES
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 I   change that would cause 643's App to shut down. Finally, during this period between which

 2   Facebook told a small group of Developers at a conference about this change and notified 643 of

 J   the change (April 30,2014 to January 20,2015), Facebook sent numerous emails to 643 helping

 4    643 gainmore users for its App, engage those users better in the App, and monetize the

 5   engagement of those users for 643 to make money with the App.

 6             That Facebook continued to entice 643 to invest in Facebook Platform while deliberately

 7   withholdin g any updates to 643 of perhaps the most significant change to Facebook Platform

 8   since it was launched in 2007, is direct evidence in support of 643's claim that Facebook violated

 9   Business and Professions Code $ 17200 et seq.

l0             Facebook made a promise to certain Developers that attended a conference on April 30,

ll   2014|haïthe Open Graph content would be available for 2 years to all Developers. Facebook

l2   then gave Developers only one year, contrary to its 2 year promise. And, what is more, Facebook

13   then deliberately avoided notifying 643 until nine months later so 643 would continue its

l4   investment of time, capital and resources in Facebook Platform, including any contracts 643

15   entered into with App users during this time. To summarize: Facebook promised certain

t6   Developers that all Developers would have two years to access the Open Graph content, then

l7   produced a blog post that, hidden under various links, gave Developers one year, and then only

t8   provided notice to 643 a few months in advance of shutting down the App. This course of

t9   conduct is itself strong evidence that Facebook intended to interfere with 643's contracts.

20   Otherwise, why would Facebook not have sent an email on April 30,2014 Ío 643 at the time it

2l   made the announcement to a select group of Developers at a conference? The lack of a plausible

22   explanation for this behavior provides strong evidence in support of deceptive and anti-

23   competitive conduct designed to disrupt the existing and prospective contractual relations of

24   Developers, including 643,inviolation of Business and Professions Code $ 17200 et seq.

25   SPECIAL INTERROGATORY NO. 10:
26             STATE THE COMPLETE FACTUAL BASIS that you contcnd supports YOUR claim

27   for negligent misrepresentation,

28
                                                       -23-
     Case No. 533328            643 THIRD SUPPLEMENTAL RESPONSE'IO FACEBOOK'S SPECIAL INI'ERROGATORIES
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 1             In addition to its actual damages, 643 seeks an award of its costs and attorneys' fbes, pre-

 2   judgment interest, and punitive/multiple damages in amounts to be determined at ttial, 643

 J   reserves the right to supplement its response to this Special Interrogatory as new information is

 4   discovered.

 5   SPECIAL INTERROGATORY NO. 20:

 6             For each date on which YOIJ sold fhe 643 APP in Apple's App store, separately

 7   IDENTIFY the total number of customers who purchased the 643 APP on that date for $ I .99, as

 8   referenced in paragraph 65 of the SAC,

 9   RESPONSE              SPECIAL INTERROGA               RY NO. 20:

l0             Responding Party incorporates each of the General Objections and further objects to this

11   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

12   burdensome in seeking
                               ooeach
                                        date" and "IDENTIFY the total number of customers"; (3) calls for

l3   information covered by the attorney-client privilege and work product privileges; (4) calls for

t4   confidential information in the absence of the entry of a suitable protective order; (5) seeks

l5   documents that are not relevant to the subject matter of this litigation and not reasonably

16   calculated to lead to the discovery of admissible evidence; (6) seeks information equally available

t7   to Defendant; (7) seeks the content of electronic communications thaI643 is prohibited from

18   producing under the SCA. 643 will supplement its response to this interrogatory upon the entry of

t9   a protective order.

20   SUPPLEMENTAL RESPONSE TO SPEçIAL INTERROGATORY NO. 20:

2l             Responding Party incorporates each of the General Objections and further objects to this

22   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

23   burdensome; (3) calls for information covered by the attorney-client privilege and work product

24   privileges; (4) seeks documents that are not relevant to the subject matter of this litigation and not

25   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

26   equally available to Defenclant; (6) seeks the content of electronic communications that 643 is

27   prohibited from producing under the SCA.

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                                                         -53-
     Case No. 533328             643'IHIRD SUPPLTJMEN'TAI, RËSPONSE TO FACEBOOK'S SPTJCIAL INI'ERROGATORIF,S
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 I             Subject to and without waiving the foregoing objections, 643 responds that its financial

 2   model includes this information, and additionally that 4,481 users had downloaded the App, of

 J   whom 3,963 had subscriptions to premium content (See Exhibit C).643 reserves the right to

 4   supplement its response to this Special Interrogatory as new information is discovered.

 5   SNCONN SUPPT,NMBNTAL RESPONSE TO SPECIAL INTERROGATORY NO. 20:

 6             Responding Party incorporates each of the General Objections and further objects to this

 7   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

 8   burdensome; (3) calls for information covered by the attorney-client privilege and work product

 9   privileges; (4) seeks documents that are not relevant to the subject matter of this litigation and not

l0   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

ll   equally available to Defendant; (6) seeks the content of electronic communications that 643 is

t2   prohibited from producing under the SCA.

l3             Subject to and without waiving the foregoing objections, 643 responds that it provided the

t4   requested information in its production of 5 December (Six4Three 000014761-Six4Three

15   000015136). This document shows the specific Facebook User ID, exact timestamp of the user

16   signing up for the App, the access token that was used to authorize the user connecting to

17   Facebook Platform via the App, whether a premium subscription was authorizecl, and when that

l8   subscription was last updated. With this information, Facebook can identify the specifrc

t9   individual who signed up, the exact time they signed up, whether the user had a premium

20   subscription, when that subscription was last updated, and how the user was authorized to access

2l   the Facebook Platform. Each row of the document includes, for a given user, their Facebook II)

22   fid), whether they have admin privileges (admin), when the user signed up (created-at), the
23   access token that was used to authorize the Facebook Platform connection

24   (facebook_access_token), the settings the user signed up with for the App, including the user's

25   App preferences, the last time the user's subsoription was updated and when that subscription was

26   created, (settings), the existence of a premium accourtt (pretnium-account), and whcn it was last

27   updated (updated_at).643 has agreed to provide the information Facebook requested;643 has, in

28
                                                        -54-
     Case No. 533328             643 THIRD SUPPLEMENTAL RESPONSE 1'O FACEBOOK'S SPECIAI, INTEIìROGATORIES
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 I   fact, produced such information; and 643 is willing to work with Facebook to clarify any further

 2   lssues.

               643 held in its possession a file that it has previously provided to Facebook indicating a
 I
 J

 4   total of 4,481 App users. Facebook stated that this file was not sufficient and that Facebook

 5   required the specific date of each user signup and the period of the subscription.643

 6   reconstructed from a database file a CSV file (Six4Three 000014761-Six4'Ihree 000015136)

 7   showing 3,944 App users. 643 provides these files øs they are and only with the modifications

 I   necessary to enable Facebook to acçess the information. 643 is under no obligation to correct

 9   these files as it has provided the information Facebook requested after a reasonable, good faith

l0   search ofits records,

1l             In an abundance of caution, 643 corrects its prior statement of 4,481 App users with the

t2   updated information of 3,944 App users. The inf'ormation provided in Six4Three 000014761-

l3   Six4Three 000015136 is sufficient to meet Facebook's request as to the specific date of each

14   download, the presence of premium subscription and term of such subscription. 643 is not under

t5   any obligation to undertake the cost of preparing the information in a particular manner that best

l6   meets Facebook's preferences. Notwithstanding the foregoing,643 continues to seek to identify

l7   additional material and will work with Facebook to provide additional information as part of its

18   ongoing production.

t9   THIRI)                      AL RESPONSE             SPECIAL INTERROGA                 Y NO. 20:

20             Responding Party incorporates each of the General Objections and further objects to this

2t   demand to the extent that it: (l) is vague and ambiguous; (2) is overly broad and unduly

22   burdensome; (3) calls for information covered by the attorney-client privilege and work product

23   privileges; (4) seeks documents that are not relevant to the subject matter of this litigation and not

24   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

25   equally available to Defendant; (6) seeks the content of electronic communications that 643 is

26   prohibited from producing under the SCA,

27             Subject to and without waiving the foregoing objections, Responding Party has produced

28   the date and terms of each user's download of the App that it could locate after a reasonable
                                                        -55-
     Case No. 533328             643 THIRD SUPPLEMENTAL RESPONSE 1'O FACEBOOK'S SPECIAT, INTERROGATORIES
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 1   search and using the search terms agreed upon by the Parties in its production of 5 December' As

 2   643 has told Facebook, the data around sales is maintained by another entity, Apple Inc,

 J   ("Apple"). 643's membership to Apple's Developer website in which the sales data is maintained

 4   has expired, See Exhibit þ'. F'urther, 643 has learned that the data to which 643 has access on

 5   Apple's Developer website does not go back further than April 2015.It appears Apple

 6   periodically removes older data in order to maintain its platf'orm' Exhibit G Exhibit H, Exhibit I,

 7   and Exhibit J all demonstrate that when 643 attempts to access data prior to April 2015 on

 8   Apple's Developer website, the App Purchase Date field to determine the date range for the data

 9   Apple displays does not go back prior to April 201 5. 643 can neither type in a date range earlier

10   than April 2015 or use the back arrow in the calendar view to access date ranges earlier than April

1l   2015. Exhibit G, Exhibit H, Exhibit I and Exhibit J span all five interfaces Apple makes available

t2   on its Developer website to view this data. 643 is not aware of another way reasonably to obtain

13   this data from Apple.

t4             However, 643 was able to identify a screenshot in its files, though it cannot accurately

15   identify the specific date of the screenshot, fiom its prior access of Apple's Developer website.

l6   See Exhibit K. Exhibit K shows 4,320 basic App downloads, 140 l-month App subscriptions, l4

t7   6-month App subscriptions andT l-year App subscriptions. This data in Exhibit K served as the

l8   basis of 643's original claim of 4,481 downloads. This data demonstrates that 643 had sales of its

l9   App prior to the notice Facebook provided 643 that it was shutting down Graph API on January

20   20,2015. Further, Exhibit L shows that even in a very short period of time prior to the App

2l   shutting down, the App was able to generate meaningful sales, user sessions, in-app purchases

22   and page views immediately prior to the shutting down of the App. Finally Exhibit

¿J   demonstrates that even after the App was completely broken and no longer functioned at all, after

24   April 30, 2015 customers tried to access the App 785 times even though the App just displayed a
25   blank page. It is this strong data in support of user desire for the App and user engagement in the

26   App that serves as the basis for 643's damages calculations,

27

28   SPECIAL INTERROGATORY NO. 2I :
                                                        -56-
     Case No, 533328             643 THIRD SUPPT,EMENTAL RESPONSE'IO FACEBOOK'S SPECIAI, INTERROGATORIES
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 I   privileges; (4) seeks documents that are not relevant to the subject matter of this litigation and not

 2   reasonably calculated to lead to the discovery of admissible evidence; (5) seeks information

 J   equally available to Defendant; (6) seeks the content of electronic communications that 643 is

 4   prohibited from producing under the SCA.

 5            Subject to and without waiving the foregoing objections, 643 responds that Ted Kramer

 6   received and responded to user feedback,643 reserves the right to supplement its response to this

 7   Special Interrogatory as new information is discovered'

 8

 9
     DATED: December 27,2016                             CRITERION LAW
l0
                                                         BIRNBAUM & GODKIN
1l

l2                                                       By:
                                                                                 s
l3                                                             David S Godkin (admittedpro hac vice)
                                                               James E. Kruzer (admittedpro hac vice)
t4                                                             Attorneys for Plaintiff
                                                               Six4Three, LLC
l5
l6
t7

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22

ZJ

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     Case No. 533328           643 TFIIRD SUPPI,EMENTAI, RESPONSE TO FACEI]OOK'S SPECIAL INTERROGATORIES
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1                                             VERIFICATION

2             I, Ted Kramer, as a certified representative of Plaintiff Six4Three LLC (“643”), certify

3    and declare under penalty of perjury under the laws of the state of California that I have read and

4    reviewed 643’s (1) Third Supplemental Answers to Facebook’s First Set of Specially Prepared

5    Interrogatories; and (2) Third Supplemental Answers to Facebook’s First Set of Requests for

6    Production of Documents and believe them to be true and accurate based on the information

7    available to 643 at the present time.

8
              Executed December 27, 2016, at San Francisco, California.
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11                                                                    By: Ted Kramer

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     Case No. 533328           643 SUPPLEMENTAL VERIFICATION
